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16                                  UNITED STATES DISTRICT COURT

17                               NORTHERN DISTRICT OF CALIFORNIA

18

19   ELISSA M. ROBERTS, Individually and on             Case No. 4:19-cv-02935-HSG
     Behalf of All Others Similarly Situated,
20                                                      JOINT NOTICE OF SETTLEMENT
                   Plaintiff,                           AND STIPULATION AND ORDER TO
21                                                      STAY PROCEEDINGS AND VACATE
            vs.                                         HEARINGS PENDING SETTLEMENT
22                                                      APPROVAL
     BLOOM ENERGY CORPORATION, et al.,
23                                                      Hon. Haywood S. Gilliam, Jr.
     Defendants.
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                                JOINT NOTICE OF SETTLEMENT AND STIPULATION AND
                                ORDER TO STAY PROCEEDINGS AND VACATE HEARINGS
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 1           Lead Plaintiff James Everett Hunt, additional plaintiffs Juan Rodriguez, Kurt Voutaz, Joel

 2   White, Andrew Austin, and Ryan Fishman (“Plaintiffs”) and Defendants Bloom Energy Corporation

 3   and the Individual Defendants (the “Bloom Defendants”) and Defendants J.P. Morgan Securities

 4   LLC, Morgan Stanley & Co. LLC, Credit Suisse Securities (USA) LLC, KeyBanc Capital Markets

 5   Inc., Merrill Lynch, Pierce, Fenner & Smith Incorporated, Cowen and Company, LLC, HSBC

 6   Securities (USA) Inc., Oppenheimer & Co. Inc., Raymond James & Associates, Inc., and Robert W.

 7   Baird & Co. Incorporated (the “Underwriter Defendants,” and together with the Bloom Defendants,

 8   “Defendants” and together with Lead Plaintiff, the “Parties”), by and through their undersigned

 9   counsel, hereby respectfully inform the Court that they have entered into an agreement in principle

10   to settle the above-captioned action, and stipulate as follows:

11           WHEREAS, on September 29, 2021, the Court entered an order granting in part and denying

12   in part Defendants’ motions to dismiss (Dkt. 157);

13           WHEREAS, the motion to dismiss order granted PricewaterhouseCoopers LLP’s motion to

14   dismiss all the claims against it (Dkt. 157);

15           WHEREAS, on January 5, 2022, the Court issued a Scheduling Order, which, among other

16   things, established a December 2, 2022 deadline for fact discovery, as well as subsequent deadlines

17   for expert reports and discovery, dispositive motion briefing and hearing, a pretrial conference, and

18   trial (Dkt. 175);

19           WHEREAS, on December 2, 2022, the Parties filed a joint request for a case management

20   conference, explaining that they had been in discussions regarding a potential resolution of this

21   action, had agreed to attend a private, third-party mediation on December 20, 2022, and had

22   concentrated discovery on preparing for the December 20, 2022 mediation (Dkt. 211);

23           WHEREAS, on December 5, 2022, the Court granted the joint request and scheduled a case

24   management conference for January 17, 2023, with a joint case management conference statement to

25   be filed by January 10, 2023 (Dkt. 213);

26           WHEREAS, on December 20, 2022, the Parties attended the scheduled mediation and did

27   not settle the case that day, but continued to communicate with the mediator regarding a potential

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 1   settlement;

 2           WHEREAS, on January 6, 2023, after further discussions with the mediator, the Parties

 3   reached a settlement in principle of this matter;

 4          WHEREAS, the material terms of the Parties’ settlement will resolve all of Plaintiffs’ claims

 5   against Defendants in this action;

 6          WHEREAS, PricewaterhouseCoopers LLP is not a party to this Settlement;

 7          WHEREAS, the Parties are in the process of memorializing their agreement in a

 8   comprehensive written Settlement Agreement;

 9          WHEREAS, the Parties will work in good faith to finalize the Settlement Agreement as

10   quickly as reasonably possible;

11          WHEREAS, Plaintiffs intend to file an unopposed Motion for Preliminary Approval of the

12   settlement following execution of the Settlement Agreement;

13          WHEREAS, the Parties have met and conferred and agree that it would serve the interests of

14   efficiency and conserve resources to stay all proceedings in this matter, including all discovery and

15   case deadlines, including the January 10, 2023 deadline to file a joint case management statement,

16   and vacate all hearings currently on calendar, including the January 17, 2023 case management

17   conference, pending finalization of the settlement documentation and a ruling on Plaintiffs’ Motion

18   for Preliminary Approval of Settlement;

19          NOW THEREFORE, THE PARTIES HEREBY STIPULATE AND AGREE, pursuant

20   to Civil L.R. 6-2, by and through their undersigned counsel:

21          1.      All proceedings in this matter, including all discovery and case deadlines, including

22                  the January 10, 2023 deadline to file a joint case management statement, shall be

23                  stayed pending finalization of the settlement documentation and a ruling on Lead

24                  Plaintiff’s Motion for Preliminary Approval of Settlement.

25          2.      All hearings currently on calendar, including the case management conference

26                  scheduled for January 17, 2023, shall be vacated.

27          3.      Plaintiffs will either file a Motion for Preliminary Approval of Settlement or the

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 1               Parties shall file a joint status report regarding the status of the settlement by February

 2               14, 2023.

 3        IT IS SO STIPULATED.

 4   Dated: January 10, 2023                           SIDLEY AUSTIN LLP
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                                                       By: s/ Matthew J. Dolan
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19                                                          Attorneys for the Bloom Defendants
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 5                                                   Incorporated, Cowen and Company, LLC,
                                                     HSBC Securities (USA) Inc., Oppenheimer &
 6                                                   Co. Inc., Raymond James & Associates, Inc.,
                                                     and Robert W. Baird & Co. Incorporated
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                          JOINT NOTICE OF SETTLEMENT AND STIPULATION AND
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                                               Additional Counsel for Plaintiffs and the
 4                                             Class

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                    ORDER TO STAY PROCEEDINGS AND VACATE HEARINGS
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1                                   CIVIL L.R. 5-1(h)(3) ATTESTATION

2           I, Matthew J. Dolan, am the ECF user whose ID and password are being used to file this

3    JOINT NOTICE OF SETTLEMENT AND STIPULATION AND [PROPOSED] ORDER TO

4    STAY PROCEEDINGS AND VACATE HEARINGS PENDING SETTLEMENT

5    APPROVAL. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that counsel for all

6    parties have concurred in this filing.

7

8    Dated: January 10, 2023                           By:     s/ Matthew J. Dolan
                                                               Matthew J. Dolan
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1                                                     ORDER
2
             Pursuant to the Parties’ stipulation, and good cause shown, all proceedings in this matter,
3
     including all discovery and case deadlines, including the January 10, 2023 deadline to file a joint
4
     case management statement, shall be stayed pending finalization of the settlement documentation
5
     and a ruling on Lead Plaintiff’s Motion for Preliminary Approval of Settlement. All hearings on
6
     calendar, including the case management conference scheduled for January 17, 2023, shall be
7
     vacated. If the Motion for Preliminary Approval of Settlement is not filed by February 14, 2023, the
8
     Parties shall file a joint status report regarding the status of settlement by that date.
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12
      DATED: 1/11/2023                                ____________________________________
13                                                    HONORABLE Haywood S. Gilliam, Jr.
                                                      United States Judge
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                               ORDER TO STAY PROCEEDINGS AND VACATE HEARINGS
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